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Exhibit 95
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From: "Steen, Michael" <Michael.Steen@AtlasAir.com>
Date: August 30, 2017 at 10:24:56 PM EDT
To:
Cc: "Perkins, Graham" <Graham.Perkins@AtlasAir.com>, "Dietrich, John W."
<JDIETRICH@AtlasAir.com>, "Sarubbe, Kevin" <Kevin.Sarubbe@AtlasAir.com>, "Steen, Michael"
<Michael.Steen@AtlasAir.com>
Subject: Re: Crew Fatigue

Hi     ,

I am glad to hear that you are feeling fit for fight and I look forward to catching up with you when you're
back in the office.

We have indeed been hit by a series of events over the past week which included a major typhoon,
hurricane Harvey and operational disruptions including the fatigue events which had an impact across
our entire fleet and all customer segments.

As Kevin described in the call with      , we are working very hard to get back on track and we'll get
back to you with some further detail over the next several days regarding actions to ensure that your
schedule is back to normal.

I fully understand your concern regarding the CAAC and customer concern.

Best regards,
Michael

On Aug 30, 2017, at 18:30,                                               wrote:

Hi Michael,

I’m just about ready to get back to work, starting next Monday. The team has asked me to raise this
directly with you as we’re quite concerned at the number of crew fatigue delays over the last week.
We’ve now had 3 separate crew fatigue delays in the last week, resulting in one of our lines of flying
now being delayed by 47 hours with no ability to operate on time until mid-next week.

We understand that the hurricane in Texas has had a significant impact on your operation however we
are in an extremely serious position. Many of our customers have lost confidence in our ability to deliver
a consistent service. Our other concern is the regulatory environment in China and their focus on on-
time performance. The CAAC have advised us that the poorest performing airlines (bottom 3) will be
penalised in relation to future government approval requests. (eg slots, new ports etc). This impacts the
whole of     operations into China including our pax services, so we really can’t afford to get hit by the
CAAC.

I would welcome anything you can do in relation to assisting us in efforts to recover.        has reached
out to Graham and Kevin today.

Many thanks and best regards,
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